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Local AO 450 (rev. 5/10)




                                              United States District Court
                                                       District of North Dakota

   Breanna Berndsen, Kristen Elizabeth
   Joyce Campbell, Charly Dahlquist,
   Taylor Flaherty, Ryleigh Houston,
   Anna Kilponen, Rebekah Kolstad,                                           JUDGMENT IN A CIVIL CASE
   Sarah LeCavalier, Alyssa MacMillan,
   Annelise Rice, and Abigail Stanley,
                                                                             Case No.       3:18-cv-125
                                         Plaintiffs,

   vs.

   North Dakota University System,

                                         Defendant.


              Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has rendered its
              verdict.

              Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a decision has
              been rendered.

      ✔ Decision on Motion. This action came before the Court on motion. The issues have been considered and a decision rendered.
              Stipulation. This action came before the court on motion of the parties. The issues have been resolved.

              Dismissal. This action was voluntarily dismissed by Plaintiff pursuant to Fed. R. Civ. P. 41(a)(1)(ii).

IT IS ORDERED AND ADJUDGED:
   Pursuant to the Order entered on June 19, 2019, the Defendant's motion to dismiss (Doc. 10) is GRANTED.
The complaint is DISMISSED WITHOUT PREJUDICE. The Court FINDS AS MOOT the Plaintiffs' motion
for oral argument (Doc. 16)




      June 20, 2019
Date: __________________                                                      ROBERT J. ANSLEY, CLERK OF COURT

                                                                             by:________________________________
                                                                                 /s/ Ashley Sanders, Deputy Clerk
